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(Counts 1, 7) 18 U.S.C. § 1709

(Counts 6-7)

Defendants.
18 U.S.C. §§ 981(a)(1)(C), 982(a)(2)(A) &
28 U.S.C. § 2461

Criminal Forfeiture

IN THE UNITED STATES DISTRICT COURT IN OPEN COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
JUL 24 2024
Norfolk Division |
CLERK, U.S. DISTRICT COURT
NORFOLK, VA

UNITED STATES OF AMERICA ) UNDER SEAL

)
v. ) CRIMINAL NO. 2:24cr V1.

)

DEVON DRUMGOOLE, ) Conspiracy to Commit Mail and Bank Fraud

(Counts 1-5) ) 18 U.S.C. § 1349

) (Count 1)

DARNELLE CONCEPCION, )

(Counts 1-6) ) Bank Fraud
) 18 U.S.C. § 1344 and 2
and ) (Counts 2-5)

)

QUASHEDA JONES, ) Theft of Mail Matter
)
)
)
)
)
)

INDICTMENT

JULY 2024 TERM — at Norfolk, Virginia
THE GRAND JURY CHARGES THAT:

At all times relevant to this Indictment, unless otherwise stated:

GENERAL ALLEGATIONS

1. Defendants DEVON DRUMGOOLE (DRUMGOOLE) and DARNELLE
CONCEPCION (CONCEPCION) were residents of the Eastern District of Virginia and defendant
QUASHEDA JONES (JONES) was a resident of the Middle District of North Carolina.

a CONCEPCION was a city carrier for the United States Postal Service (“USPS”) at

the Deep Creek Post Office located in Chesapeake, Virginia.
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3. JONES was a carrier for the USPS and was employed by the USPS in Winston-
Salem, North Carolina

4, Bank of America (“BofA”), TD Bank, N.A. (“TD Bank”), Chartway Federal
Credit Union (“Chartway”), JPMorgan Chase Bank (“Chase”), and Navy Federal Credit Union
(“Navy Federal”) were financial institutions as defined in 18 U.S.C. § 20 (hereinafter, the
“financial institutions”) and had physical branches, Automatic Teller machines (“ATMs”), teller
windows, and employees in the Eastern District of Virginia and elsewhere.

5. An “account mule” was an individual whose name was used to deposit illegally ~

acquired checks and proceeds.

COUNT ONE
(Conspiracy)

6. The General Allegations of this Indictment are realleged and incorporated as if fully
set forth herein.

7. From a time unknown to the Grand Jury, but beginning in and around November”
2022, and continuing through in and around at least November 2023, in the Eastern District of .
Virginia, and elsewhere, the defendants DEVON DRUMGOOLE, DARNELLE CONCEPCION;
and QUASHEDA JONES, and others known and unknown to the Grand Jury, did knowingly and.
willfully combine, conspire, confederate, and agree with each other and with others known and
unknown to the Grand Jury to commit mail fraud, that is, to devise and intend to devise a scheme
and artifice to defraud, and to obtain money by means of materially false and fraudulent pretenses,
representations, promises, and material omissions (the "scheme to defraud"), and, for the purpose
of executing and attempting to execute the scheme to defraud, to take and receive any matter and
thing whatever to be sent or delivered by the USPS, in violation of 18 U.S.C. § 134 1; and to

commit bank fraud, that is, to execute and attempt to execute a scheme and artifice to defraud the
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victim financial intuitions, and to obtain and attempt to obtain monies, funds, credits, assets, and
securities owned by and under the custody and control of the victim financial institutions by means
of materially false and fraudulent pretenses, representations, and promises, in violation of 18
U.S.C. § 1344.
OBJECT OF THE CONSPIRACY
8. The object of the conspiracy was for the defendants to profit personally by
obtaining hundreds of thousands of dollars through stolen checks.

MANNER.AND MEANS OF THE CONSPIRACY AND SCHEME TO DEFRAUD

It was part of the conspiracy and scheme to defraud that:

9. DRUMGOOLE, CONCEPCION, JONES and others known and unknown to the
Grand Jury removed, and caused the theft of, dozens of business checks belonging to various
companies that had been mailed via the USPS through various means, with a face value well in
excess of one million dollars.

10. CONCEPCION and JONES used their positions as mail carriers to steal, take,
remove, and cause the theft of, business checks belonging to victims that had been mailed via the
USPS.

11. DRUMGOOLE made, and caused to be made, arrangements for himself and others
known and unknown to the Grand Jury to obtain, procure, and collect checks from CONCEPCION
and JONES.

12. DRUMGOOLE used peer-to-peer financial transfers to pay CONCEPCION and
JONES for the stolen checks.

13. DRUMGOOLE collected, and caused the collection of, banking information and

the means of identification belonging to account mules.
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14. DRUMGOOLE altered, and caused to be altered, business checks to reflect
payment to account mules.

15. DRUMGOOLE deposited and caused the deposit of altered and fraudulent checks
into bank accounts belonging to account mules at various financial institutions.

16. DRUMGOOLE obtained, and caused to be obtained, the proceeds from altered and
fraudulent checks by engaging in various monetary transactions to withdraw the proceeds, by way
of, among other things, cash withdrawals.

(In violation of Title 18, United States Code, Section 1349.)
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17.

COUNTS TWO THROUGH FIVE

set forth herein.

18.

(Bank Fraud)

Paragraphs 1 through 16 of this Indictment are realleged and incorporated as if fully

On or about the dates listed below, in the Eastern District of Virginia and elsewhere,

DEVON DRUMGOOLE and DARNELLE CONCEPCION, defendants herein, knowingly and

willfully executed and attempted to execute the above-described scheme and artifice to defraud

and to obtain the moneys, funds, credits, assets, securities, or other property owned by, or under

the custody or control of, a financial institution, by means of materially false and fraudulent

pretenses, representations, and promises, to wit:

Count | Date (on or about) Defendant(s) Description
2 March 29, 2023 DRUMGOOLE and | Deposited an altered version of a check
CONCEPCION bearing number 10447, in the amount of
$11,656.75, at a Chase ATM in Norfolk,
Virginia
3 March 30, 2023 DRUMGOOLE and | Deposited an altered version of a check
CONCEPCION bearing number 11244, in the amount of
$23,644.00, at a Chase ATM in Norfolk,
Virginia
4 May 25, 2023 DRUMGOOLE and | Deposited an altered version of a check
CONCEPCION bearing number 2361, in the amount of
$13,946.00, at a Chase ATM in Dale City,
Virginia
5 May 25, 2023 DRUMGOOLE and | Deposited an altered version of a check
CONCEPCION bearing number 1786, in the amount of
$13,000.00, at a Chartway ATM in
Virginia Beach, Virginia

(In violation of Title 18, United States Code, Sections 1344 and 2).

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COUNT SIX

19. Paragraphs 1 through 16 of this Indictment are realleged and incorporated as if fully
set forth herein.

20. On or about June 5, 2023, in the Eastern District of Virginia, the defendant,
DARNELLE CONCEPCION, a United States Postal Service employee, did steal, abstract, and
remove a letter, package, and mail containing a check bearing number 17447 made out in the
amount of $78,900.00 which had been entrusted to the defendant, and which had come into the
defendant’s possession intended to be conveyed by mail and carried and delivered by a carrier,
messenger, agent, and other person employed in any department of the Postal Service, and which
was forwarded through and delivered from a post office and postal station established by the
authority of the Postmaster General and of the Postal Service.

(in violation of Title 18, United States Code, Section 1709.)
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COUNT SEVEN

21. Paragraphs | through 16 of this Indictment are incorporated by reference as though

fully set forth herein.

22; On or about October 26, 2023 in the Middle District of North Carolina, Eastern

QVASH EPA

District of Virginia, and elsewhere, the defendant, QUASHADA JONES, a United States Postal
Service employee, did steal, abstract, and remove a letter, package, and mail containing a check
bearing number 377283 made out in the amount of $171,386.71 which had been entrusted to the
defendant, and which had come into the defendant’s possession intended to be conveyed by mail
and carried and delivered by a carrier, messenger, agent, and other person employed in any
department of the Postal Service, and which was forwarded through and delivered from a post
office and postal station established by the authority of the Postmaster General and of the Postal

Service.

(In violation of Title 18, United States Code, Section 1709.)

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FORFEITURE

THE GRAND JURY FURTHER FINDS PROBABLE CAUSE THAT:

1. The defendants, DEVON DRUMGOOLE, DARNELLE CONCEPCION, and
QUASHEDA JONES, if convicted of the violation alleged in Count One of this Indictment, shall
forfeit to the United States, as part of the sentencing pursuant to Federal Rule of Criminal
Procedure 32.2, any property, real or personal, which constitutes or is derived from proceeds
traceable to the violation.

2. The defendants, DEVON DRUMGOOLE, DARNELLE CONCEPCION, and
QUASHEDA JONES, if convicted of any of the violations alleged in Counts Two through Five of
this Indictment, shall forfeit to the United States, as part of the sentencing pursuant to Federal Rule
of Criminal Procedure 32.2, any property, any property constituting, or derived from, proceeds
obtained directly or indirectly, as a result of the violation.

3. If any property that is subject to forfeiture above is not available, it is the intention
of the United States to seek an order forfeiting substitute assets pursuant to Title 21, United States
Code, Section 853(p) and Federal Rule of Criminal Procedure 32.2(e).

(In accordance with Title 18, United States Code, Sections 981(a)(1)(C) and 982(a)(2)(A); and
Title 28, United States Code, Section 2461(c).)
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United States v. Devon Drumgoole, et. al., Criminal No. 2:24cr T1

By:

JESSICA D, ABER
UNITED STATES ATTORNEY

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A TRUE BILL:

Pursuant to the E-Government Act,
the original of this page hes been filed
wider seal in the Clerk's Office

REDACTED COPY

FOREPERSON
